            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                        CRIMINAL CASE NO. 1:07cr33-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                          ORDER
                          )
                          )
JEANNIE LARGENT COSBY.    )
                          )



     THIS MATTER is before the Court on the limited remand of the

United States Fourth Circuit Court of Appeals (Fourth Circuit) [Doc. 355].

     On July 31, 2009, Hon. Lacy H. Thornburg denied the Defendant’s

motion pursuant to 18 U.S.C. §3582 to reduce her sentence.1 [Doc. 347].

The docket shows that on that same date, a copy of the Order was mailed

to the Defendant.

     On August 30, 2009, the Defendant signed a “Motion Seeking

Review of District Court’s Decision to Uphold Erroneous Career Offender

Status to Support Denial of Sentence Reduction According to Change in

Sentencing Guidelines - Amendment 706 and 711" which she mailed to the

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         When Judge Thornburg retired, the case was reassigned to the undersigned.


   Case 1:07-cr-00033-MR-WCM         Document 356     Filed 01/07/10   Page 1 of 4
Fourth Circuit in Richmond, Virginia. [Doc. 351, at 2]. She signed a

certificate of service stating that she delivered the document to prison

authorities on that same date. [Id., at 5]. The envelop containing the

document was postmarked by the United States Post Office in Fort Worth,

Texas, where the Defendant is incarcerated, on August 31, 2009. [Id., at

23]. On September 3, 2009, the Fourth Circuit received the motion which it

construed as a notice of appeal. [Doc. 351]. On September 17, 2009, the

Fourth Circuit forwarded that document to this Court where it was received

on September 28, 2009. [Id.].

      On the same date that the Court received the motion from the Fourth

Circuit, this Court also received from the Defendant a formal notice of

appeal in this matter. [Doc. 349]. In that notice, she explained that she had

sent the above-described motion to the Fourth Circuit who had instructed

her to make the filing with this Court. [Id., at 1]. The formal notice of

appeal was signed by the Defendant on September 23, 2009 and the

envelop containing it was postmarked by the United States Post Office in

Fort Worth, Texas on September 25, 2009. [Id., at 3].

      As noted by the Fourth Circuit, the Defendant had ten days after

entry of the Order on July 31, 2009 within which to file her notice of appeal;


                                       2


   Case 1:07-cr-00033-MR-WCM      Document 356    Filed 01/07/10   Page 2 of 4
that is, until August 14, 2009. [Doc. 359]. Because she mistakenly filed her

notice at the Fourth Circuit, it is deemed filed in this Court on September 3,

2009, the date on which it was received at the Fourth Circuit.

Fed.R.App.P. 4(d).

      The Federal Rules of Appellate Procedure provide that with or

without a motion, the district court may extend the time within which to file

a notice of appeal for up to thirty days if excusable neglect or good cause

is shown. Fed.R.App.P. 4(b)(4). Here, the thirty day excusable neglect or

good cause period expired on September 14, 2009. The Fourth Circuit

issued this limited remand so that this Court may consider whether the

Defendant has shown excusable neglect or good cause which would

warrant the thirty day extension. [Doc. 355]. There is nothing in the record

showing when the Defendant received the copy of the Order denying her

motion and from which appeal was to have been taken. Thus, the Court

will provide the Defendant with an opportunity to advise the Court of the

date on which she received the Order denying her motion and of any other

factors showing excusable neglect or good cause. See, e.g., United States

v. Shillingford, 568 F.2d 1106 (5th Cir. 1978) (instructing district court to

provide thirty day period to the prisoner to explain excusable neglect);


                                        3


   Case 1:07-cr-00033-MR-WCM      Document 356     Filed 01/07/10   Page 3 of 4
United States v. Eckles, 2009 WL 217-271 (W.D.N.C. 2009) (noting that

defendant’s incarceration out of the district would weigh in favor of finding

excusable neglect).

      IT IS, THEREFORE, ORDERED that on or before thirty (30) days

from entry of this Order, the Defendant may file response showing the date

on which she received the Order of July 31, 2009 denying her motion

and/or any other grounds for excusable neglect or good cause for failing to

file the notice of appeal in a timely manner.

                                      Signed: January 7, 2010




                                      4


   Case 1:07-cr-00033-MR-WCM     Document 356     Filed 01/07/10   Page 4 of 4
